                     Case 7:21-cv-11140-NSR Document 11 Filed 03/11/22 Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                               Southern District
                                             __________  DistrictofofNew York
                                                                      __________


        Scanning Technologies Innovations LLC                  )
                             Plaintiff                         )
                                v.                             )      Case No.     7:21-cv-11140-NSR
                  Patron Technology, LLC                       )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Patron Technology, LLC                                                                                       .


Date:          03/11/2022                                                              /s/ Edward C. Wipper
                                                                                         Attorney’s signature


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